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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

TESSERA ADVANCED TECHNOLOGIES,                       §
INC.,                                                §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §   CIVIL ACTION NO. 2:17-CV-00671-JRG
                                                     §
SAMSUNG ELECTRONICS CO., LTD.,                       §
SAMSUNG ELECTRONICS AMERICA,                         §
INC.,                                                §
                                                     §
                Defendants.                          §

                        ORDER SUA SPONTE STAYING TRANSFER

       The Court issues this Order sua sponte. On September 11, 2018, Plaintiff Tessera

Advanced Technologies, Inc. (“Tessera”) filed a Motion for Reconsideration of the Court’s Order

Granting Defendants’ Motion to Transfer. (Dkt. No. 120.) In order to permit the Parties to fully

brief the Motion for Reconsideration, the Court hereby ORDERS the transfer to the District of

Delaware STAYED.
   .
      In light of the similar willfulness allegations and defenses raised in the parallel FotoNation

Limited v. Samsung Electronics Co., Ltd., No. 2:17-cv-669 (E.D. Tex.) (Schroeder, J.) and

Invensas Corporation v. Samsung Electronics Co., Ltd., No. 2:17-cv-670 (E.D. Tex.) (Schroeder,

J., referred to Payne, M.J.) as well as the related motions to transfer in such cases, the Court further

DIRECTS Plaintiff to address whether it is withdrawing its willfulness allegations only as to

the -671 case or as to all three cases, and if not as to all cases, why not.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 14th day of September, 2018.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE
